  Case 2:21-cv-07682-DSF-JEM Document 47 Filed 12/23/21 Page 1 of 2 Page ID #:1384




ACTIVISION BLIZZARD INC., BLIZZARD
ENTERTAINMENT, INC., ACTIVISION
PUBLISHING, INC., and KING.COM, INC.
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SECTION II -TO ADD AN ATTORNEY TO THE DOCKET
Please select one of the following options:
 D      The attorney listed above has already appeared as counsel ofrecord in this case and should have been added to the
        docket. The date ofthe attorney's first appearance in this case: ---------
 D      The filing ofthis form constitutes the first appearance in this case ofthe attorney listed above. Other members of
        this attorney's firm or agency have previously appeared in the case.
 D      The filing ofthis form constitutes the first appearance in this case ofthe attorney listed above. No other members
        ofthis attorney's firm or agency have previously appeared in the case.
 D      By order ofthe court dated                             in case number                                 (see attached
        copy), the attorney listed above may appear in this case without applying for admission to practice pro hac vice.
 D      This case was transferred to this district by the Judicial Panel on Multidistrict Litigation ("JPML") pursuant to 28
        U.S.C. § 1407 from the                       District of                           , where it was assigned case number
        _________. The attorney listed above is counsel ofrecord in this case in the transferee district, and is
        permitted by the rules ofthe JPML to continue to represent his or her client in this district without applying for
        admission to practice pro hac vice and without the appointment oflocal counsel.
 D      On                            , the attorney listed above was granted permission to appear in this case pro hac vice
        before the Bankruptcy Court, and L.Bankr.R. 8 authorizes the continuation ofthat representation in this case before
        the District Court.
In addition,   if this is a criminal case, please check the applicable box below. The attorney listed above is:
         D USAO D FPDO D CJA Appointment D Pro Bono D Retained
SECTION III -TO REMOVE AN ATTORNEY FROM THE DOCKET
Notices ofElectronic Filing will be terminated. Please select one of the following options:

 D      The attorney named above has already been relieved by the Court as counsel ofrecord in this case and should
        have been removed from the docket. Date ofthe order relieving this attorney: ___________

 [8]    Please remove the attorney named above from the docket ofthis case; at least one member ofthe firm or agency
        named above, and at least one member ofthe Bar ofthis Court, will continue to serve as counsel ofrecord for the
        party or parties indicated.
        (Note: ifyou are removing yourselffrom the docket of this case as a result of separating from afirm or agency, you
        should consult Local Rules 5-4.8.1 and 83-2.4 and Form G-06 ("Notice of Change of Attorney Business or Contact
        Information"), concerning your obligations to notify the Clerk and parties of changes in your business or contact
        information.)
 D      The represented party has been dismissed from the case, but the attorneys are still receiving notices of electronic
        filing. Date party was dismissed:

 D      The attorney named above was appointed on appeal and the appeal has been adjudicated. Date the mandate was
        filed:

SECTION IV -SIGNATURE

I request that the Clerk update the docket as indicated above.


       Date: December 23, 2021                           Signature:

                                                         Name:        Laura Iris Mattes

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